                                      Case 2:17-cv-04600-JAK-PJW Document 30 Filed 06/05/18 Page 1 of 2 Page ID #:147




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                                       Attorneys for Plaintiff,
                                  7
                                       SAMUEL JOHNSON
                                  8

                                  9                         UNITED STATES DISTRICT COURT
                                 10
                                                          CENTRAL DISTRICT OF CALIFORNIA
                                 11
                                                                      WESTERN DIVISION
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                                       SAMUEL JOHNSON,                            Case No.: 2:17-cv-04600-DDP-PJWx
                                 14
                                                    Plaintiff,
                                 15
                                                                                  NOTICE OF SETTLEMENT
                                             vs.
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                                       WELLS FARGO BANK, N.A.; and                Honorable Judge Dean D. Pregerson
                                       DOES 1 through 10, inclusive,
                                 18
                                                    Defendants.
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   Encino, California 91436




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                                 22                 Plaintiff Samuel Johnson, by and through his attorneys of record,

                                 23    respectfully notifies this Honorable Court that this case has settled. Plaintiff
                                 24    requests that this Honorable Court vacate all pending hearing dates and allow sixty
                                 25    (60) days with which to file dispositive documentation. A Notice of Voluntary
                                 26    Dismissal with Prejudice will be forthcoming. This Court shall retain jurisdiction
                                 27
                                       over this matter until fully resolved.
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                                                                       NOTICE OF SETTLEMENT
                                      Case 2:17-cv-04600-JAK-PJW Document 30 Filed 06/05/18 Page 2 of 2 Page ID #:148




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                                                                          RESPECTFULLY SUBMITTED,
                                                                          SM LAW GROUP, APC
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                                  3    DATED: June 5, 2018                BY: /s/ Kian Mottahedeh
                                                                          Kian Mottahedeh (SBN 247375)
                                  4                                       John D. Sarai (SBN 259125)
                                                                          Attorneys for Plaintiff,
                                  5                                       SAMUEL JOHNSON
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                                                                   NOTICE OF SETTLEMENT
